       Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 1 of 14



                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                             :
Robert Ward, on his own behalf and on behalf : Civil Action No.: 2:17-cv-02069-MMB
of all others similarly situated,            :
                                             :
                        Plaintiff,           :
v.                                           :
                                             :
Flagship Credit Acceptance LLC,              :
                                             :
                        Defendant            :
                                             :

               SUPPLEMENTAL DECLARATION OF SERGEI LEMBERG

       I, Sergei Lemberg, under penalty of perjury under the laws of the United States of

America, affirm and state as follows:

       1.      I am the principal of Lemberg Law, LLC. I submit this supplemental declaration

in further support of Plaintiff’s Motion for Final Approval of the Class Action Settlement and for

Approval of petition for fees and costs by Class Counsel.

       2.      Following the April 2, 2019, Final Approval Hearing we contacted the Settlement

Administrator for an updated accounting of the settlement administration costs.

       3.      The administrator has provided invoices which encompass all its costs in this

matter and they are attached as Exhibits A & B hereto with Exhibit A as the invoices themselves

and Exhibit B as the summary.

       I declare under penalty of perjury that the above is true and correct.

Dated: April 16, 2019

                                                             /s/ Sergei Lemberg
                                                             Sergei Lemberg
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   EXHIBIT A
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                         Class Experts Group, LLC
                         740 West Glen Oaks Lane
                         Mequon, WI 53092 US
                         (262) 302-4443
                         info@classexpertsgroup.com
                         classexpertsgroup.com




BILL TO                                                                INVOICE # 1071
Flagship Credit Acceptance,                                                DATE 07/22/2018
LLC
Ward v. Flagship                                                             TERMS Due on receipt
P.O. Box 965
Chadds Ford, PA 19317




ACTIVITY                                                              QTY             RATE     AMOUNT

Charges
Data Append Process                                                 90,000            0.169   15,210.00
Reverse historical lookup of names and addresses
Print & Mail Postcards                                              90,000            0.098    8,820.00
Notice
Data Append Process                                                     1            750.00     750.00
National Change of Address
Postage                                                             90,000             0.26   23,400.00
Presorted, First-Class Mail
PO Box                                                                  1            960.00     960.00
Account Executive                                                     3.25           275.00     893.75


WIRING INSTRUCTIONS                                   SUBTOTAL                                50,033.75
Routing Number: 121000248                             DISCOUNT                                   -33.75
Bank: Wells Fargo Bank                                TOTAL                                   50,000.00
Location: San Francisco, CA
                                                      BALANCE DUE
Account Number: 3228219659                                                                     $0.00
Account Title: Class Experts Group
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                         Class Experts Group, LLC
                         740 West Glen Oaks Lane
                         Mequon, WI 53092 US
                         (262) 302-4443
                         info@classexpertsgroup.com
                         classexpertsgroup.com




BILL TO                                                                       INVOICE # 1125
Ward v. Flagship                                                                  DATE 11/23/2018
Lemberg Law
43 Danbury Road                                                                     TERMS Due on receipt
Wilton, CT 06897




DATE                ACCOUNT SUMMARY                                                                    AMOUNT

07/22/2018         Balance Forward                                                                   $50,000.00
11/23/2018         Payments and credits already applied to this invoice                              -72,183.00
                   Other payments and credits between 07/22/2018 and 11/23/2018                      -50,000.00
                   New charges (details below)                                                        72,183.00
                   Total Amount Due                                                                        $0.00


ACTIVITY                                                                     QTY             RATE      AMOUNT

Charges
Data Append Process                                                        20,000            0.199     3,980.00
Reverse historical lookup of names and addresses
Print & Mail Postcards                                                    329,000            0.097    31,913.00
Notice
Data Append Process                                                            1            750.00      750.00
National Change of Address
Postage                                                                   329,000             0.26    85,540.00
Presorted, First-Class Mail


WIRING INSTRUCTIONS                                       SUBTOTAL                                   122,183.00
Routing Number: 121000248                                 DISCOUNT                                   -50,000.00
Bank: Wells Fargo Bank                                    TOTAL                                       72,183.00
Location: San Francisco, CA
                                                          TOTAL OF NEW                                72,183.00
Account Number: 3228219659
Account Title: Class Experts Group                        CHARGES
                                                          BALANCE DUE
                                                                                                       $0.00
             Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 5 of 14
                         Class Experts Group, LLC
                         740 West Glen Oaks Lane
                         Mequon, WI 53092 US
                         (262) 302-4443
                         info@classexpertsgroup.com
                         classexpertsgroup.com




BILL TO                                                                       INVOICE # 1152
Ward v. Flagship                                                                  DATE 01/21/2019
Lemberg Law
43 Danbury Road                                                                    TERMS Net 15
Wilton, CT 06897


BILL FOR
11/19/2018 - 01/18/2019

DATE                ACCOUNT SUMMARY                                                                   AMOUNT

11/23/2018          Balance Forward                                                                 $72,183.00
                    Payments and credits between 11/23/2018 and 01/21/2019                          -72,183.00
                    New charges (details below)                                                      16,266.51
                    Total Amount Due                                                                $16,266.51


ACTIVITY                                                                     QTY            RATE      AMOUNT

Charges
Data Append Process                                                    -16,362             0.199     -3,256.04
Reverse historical lookup of names and addresses adjustment from
Invoice 1125 (3,638 addresses looked up)
Data Append Process                                                      5,996             0.199      1,193.20
Secondary reverse historical lookup of names and addresses
Print & Mail Postcards                                                   -8,072            0.097       -782.98
Adjustment from Invoice 1125 (320,928 printed)
Print & Mail Postcards                                                   5,996               0.45     2,698.20
Secondary mailing
Data Append Process                                                            1          750.00       750.00
Secondary mailing NCOA
Postage                                                                       -1          546.91       -546.91
Adjustment from Invoice 1125
Postage                                                                  5,996               0.28     1,678.88
Secondary mailing
PO Box                                                                         2          960.00      1,920.00
Return Mail Processing                                                         1          900.00       900.00
Setup
Return Mail Processing                                                  22,410               0.45    10,084.50
Website Initial Setup                                                          1         2,500.00     2,500.00
Website Monthly Maintenance                                                    2          150.00       300.00
              Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 6 of 14
ACTIVITY                                                       QTY        RATE     AMOUNT

Call Center Initial Setup                                        1     2,500.00    2,500.00
Call Center Monthly Maintenance                                  2      180.00       360.00
Call Center IVR                                               39.50      70.00     2,765.00
Call Center Operator                                          31.75     110.00     3,492.50
Claims Processing                                                1     2,500.00    2,500.00
Setup
Claims Processing                                            86,578        0.50   43,289.00
Account Executive                                               41      175.00     7,175.00
Case Manager                                                  30.75     160.00     4,920.00
Clerical Service                                                 5       75.00       375.00
QA/QC                                                            5       95.00       475.00
Miscellaneous Expenses                                           1         9.16        9.16
Domain Name Registration
Miscellaneous Expenses                                           1      650.00       650.00
Website Security Certificate
CAFA Notice                                                      1     2,500.00    2,500.00


WIRING INSTRUCTIONS                           SUBTOTAL                             88,449.51
Routing Number: 121000248                     DISCOUNT                            -72,183.00
Bank: Wells Fargo Bank                        TOTAL                                16,266.51
Location: San Francisco, CA
                                              TOTAL OF NEW                         16,266.51
Account Number: 3228219659
Account Title: Class Experts Group            CHARGES
                                              BALANCE DUE
                                                                          $16,266.51
             Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 7 of 14
                        Class Experts Group, LLC
                        740 West Glen Oaks Lane
                        Mequon, WI 53092 US
                        (262) 302-4443
                        info@classexpertsgroup.com
                        classexpertsgroup.com




BILL TO                                                                        INVOICE # 1164
Ward v. Flagship                                                                   DATE 02/19/2019
Lemberg Law
43 Danbury Road                                                                     TERMS Net 60
Wilton, CT 06897


BILL FOR
1/19/2019 - 2/18/2019

DATE                 ACCOUNT SUMMARY                                                                   AMOUNT

01/21/2019           Balance Forward                                                                 $16,266.51
                     Payments and credits between 01/21/2019 and 02/19/2019                                0.00
                     New charges (details below)                                                      14,351.48
                     Total Amount Due                                                                $30,617.99


ACTIVITY                                                                      QTY            RATE      AMOUNT

Charges
Return Mail Processing                                                    9,442               0.45     4,248.90
Data Append Process                                                      30,770               0.13     4,000.10
Advanced Best Address lookup
Data Append Process                                                             1          750.00       750.00
NCOA
Return Mail Remail                                                       23,662               0.45    10,647.90
Postage                                                                         1         6,336.08     6,336.08
Website Monthly Maintenance                                                     1          150.00       150.00
Call Center Monthly Maintenance                                                 1          180.00       180.00
Call Center IVR                                                           46.25             70.00      3,237.50
Call Center Operator                                                           39          110.00      4,290.00
Claims Processing                                                        17,662               0.50     8,831.00
Banking QSF Setup                                                               1         1,800.00     1,800.00
Account Executive                                                              33          175.00      5,775.00
Case Manager                                                                   65          160.00     10,400.00
Clerical Service                                                               38           75.00      2,850.00
QA/QC                                                                           9           95.00       855.00
             Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 8 of 14
WIRING INSTRUCTIONS                          SUBTOTAL                            64,351.48
Routing Number: 121000248                    DISCOUNT                           -50,000.00
Bank: Wells Fargo Bank                       TOTAL                               14,351.48
Location: San Francisco, CA
                                             TOTAL OF NEW                        14,351.48
Account Number: 3228219659
Account Title: Class Experts Group           CHARGES
                                             BALANCE DUE
                                                                         $30,617.99
             Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 9 of 14
                       Class Experts Group, LLC
                       740 West Glen Oaks Lane
                       Mequon, WI 53092 US
                       (262) 302-4443
                       info@classexpertsgroup.com
                       classexpertsgroup.com




BILL TO                                                                         INVOICE # 1176
Ward v. Flagship                                                                    DATE 03/23/2019
Lemberg Law
43 Danbury Road                                                                       TERMS Net 15
Wilton, CT 06897


BILL FOR
02/19/2019 - 03/18/2019

DATE                 ACCOUNT SUMMARY                                                                      AMOUNT

02/19/2019           Balance Forward                                                                    $30,617.99
                     Payments and credits between 02/19/2019 and 03/23/2019                                   0.00
                     New charges (details below)                                                         26,313.00
                     Total Amount Due                                                                   $56,930.99


ACTIVITY                                                                       QTY              RATE      AMOUNT

Charges
Return Mail Remail                                                            3,625             0.45      1,631.25
Data Append Process                                                           4,115             0.13       534.95
Advanced Address Update
Return Mail Remail                                                              44              0.45         19.80
Postage                                                                         44              0.50         22.00
Website Monthly Maintenance                                                      1            150.00       150.00
Call Center Monthly Maintenance                                                  1            180.00       180.00
Call Center IVR                                                               48.15            70.00      3,370.50
Call Center Operator                                                          54.75           110.00      6,022.50
Claims Processing                                                         14,684                0.50      7,342.00
Tax Services QSF                                                                 1           2,800.00     2,800.00
Account Executive                                                               14            175.00      2,450.00
Case Manager                                                                     8            160.00      1,280.00
Clerical Service                                                                 3             75.00       225.00
QA/QC                                                                            3             95.00       285.00


WIRING INSTRUCTIONS                                      TOTAL OF NEW                                    26,313.00
Routing Number: 121000248                                CHARGES
Bank: Wells Fargo Bank
            Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 10 of 14
Location: San Francisco, CA                  BALANCE DUE
Account Number: 3228219659
                                                                        $56,930.99
Account Title: Class Experts Group
                Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 11 of 14
                       Class Experts Group, LLC
                       740 West Glen Oaks Lane
                       Mequon, WI 53092 US
                       (262) 302-4443
                       info@classexpertsgroup.com
                       classexpertsgroup.com




BILL TO                                                                        INVOICE # 1177
Ward v. Flagship                                                                   DATE 04/05/2019
Lemberg Law
43 Danbury Road                                                                     TERMS Net 15
Wilton, CT 06897


BILL FOR
Final Invoice

DATE                  ACCOUNT SUMMARY                                                                   AMOUNT

03/23/2019           Balance Forward                                                                  $56,930.99
                     Payments and credits between 03/23/2019 and 04/05/2019                                 0.00
                     New charges (details below)                                                      103,279.01
                     Total Amount Due                                                                $160,210.00


ACTIVITY                                                                      QTY            RATE       AMOUNT

Charges
Website Monthly Maintenance                                                     8          150.00       1,200.00
Call Center Monthly Maintenance                                                 8          180.00       1,440.00
Call Center IVR                                                               385           70.00      26,950.00
Call Center Operator                                                          438          110.00      48,180.00
Claims Processing                                                         1,076               0.50       538.00
Print & Mail Checks                                                      67,255               0.59     39,680.45
Data Append Process                                                             3          500.00       1,500.00
NCOA
Postage                                                                  67,255               0.48     32,282.40
Checks
Return Check Processing                                                  12,000               0.75      9,000.00
Print & Mail Checks                                                      10,000               1.15     11,500.00
Check Remail
Postage                                                                  10,000               0.48      4,800.00
Check Remail
Banking Services                                                                8          150.00       1,200.00
Banking Services                                                         67,255               0.10      6,725.50
Check Clearing
Miscellaneous Expenses                                                          1         5,000.00      5,000.00
Account Executive                                                              40          175.00       7,000.00
            Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 12 of 14
ACTIVITY                                                    QTY         RATE       AMOUNT

Case Manager                                                 35        160.00      5,600.00
Clerical Service                                             25         75.00      1,875.00
QA/QC                                                        15         95.00      1,425.00


WIRING INSTRUCTIONS                          SUBTOTAL                            205,896.35
Routing Number: 121000248                    DISCOUNT                           -102,617.34
Bank: Wells Fargo Bank                       TOTAL                               103,279.01
Location: San Francisco, CA
                                             TOTAL OF NEW                        103,279.01
Account Number: 3228219659
Account Title: Class Experts Group           CHARGES
                                             BALANCE DUE
                                                                       $160,210.00
Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 13 of 14




   EXHIBIT B
             Case 2:17-cv-02069-MMB Document 29-1 Filed 04/16/19 Page 14 of 14
                    Class Experts Group, LLC
                    740 West Glen Oaks Lane
                    Mequon, WI 53092 US
                    (262) 302-4443
                    info@classexpertsgroup.com
                    classexpertsgroup.com

Statement
TO                                                       STATEMENT NO. 1018
Ward v. Flagship                                                 DATE 06/01/2019
Lemberg Law
43 Danbury Road
Wilton, CT 06897

DATE                    ACTIVITY                                  AMOUNT        RECEIVED

07/22/2018              Invoice #1071                            50,000.00     50,000.00
11/23/2018              Invoice #1125                            72,183.00     72,183.00
01/21/2019              Invoice #1152                            16,266.51     0.00
02/19/2019              Invoice #1164                            14,351.48     0.00
03/23/2019              Invoice #1176                            26,313.00     0.00
04/05/2019              Invoice #1177                           103,279.01     0.00


                                                          TOTAL AMOUNT       TOTAL RECEIVED
                                                             $282,393.00          $122,183.00
